                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION


  BRIAN VALENTI,                                     )
                                                     )
                               Plaintiff,            )
                                                     )
                       vs.                           )    Cause No. 1:15-cv-1304-WTL-TAB
                                                     )
  INDIANA SECRETARY OF STATE in her                  )
  official capacity, et al.,                         )
                                                     )
                               Defendants.           )


                    ENTRY ON DEFENDANTS’ MOTION TO DISMISS

       This cause is before the Court on the Defendants’ motion to dismiss (Dkt. No. 32). The

motion is fully briefed, and the Court, being duly advised, DENIES the Defendants’ motion for

the reasons and to the extent set forth below.

                              I.      RULE 12(b)(1) STANDARD

       The Defendants move to dismiss the Plaintiff’s Amended Complaint pursuant to Federal

Rule of Civil Procedure 12(b)(1), challenging the Court’s subject matter jurisdiction over the

Plaintiff’s claims. In ruling on such a motion, the Court accepts as true all well-pleaded factual

allegations and draws reasonable inferences in the Plaintiff’s favor. Capitol Leasing Co. v.

F.D.I.C., 999 F.2d 188, 191 (7th Cir. 1993). The Plaintiff bears the burden of establishing

jurisdiction. Lujan v. Defenders of Wildlife, 504 U.S. 555, 561 (1992); Apex Digital, Inc. v.

Sears, Roebuck & Co., 572 F.3d 440, 443 (7th Cir. 2009). “[A] court must dismiss the case

without ever reaching the merits if it concludes that it has no jurisdiction.” Capitol Leasing Co.,

999 F.2d at 191.




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                                     II.      BACKGROUND

       The Plaintiff is a registered voter, living in Hartford City, Blackford County, Indiana. He

challenges Indiana Code § 35-42-4-14, which prohibits persons meeting the definition of

“serious sex offender” from knowingly or intentionally entering school property. The Plaintiff,

who meets the definition of “serious sex offender” under the statute, contends that his First and

Fourteenth Amendment rights are violated by the law because he cannot vote on an election day

at the polling place closest to his home because it is a school property, the Blackford County

High School Auxiliary Gym (“High School”). The Plaintiff may, however, vote on an election

day at Blackford County’s other polling place, the Montpelier Civic Center, which is located

nine miles farther from the Plaintiff’s home than is the High School. He does not have a vehicle

that he can drive to Montpelier, and there are no buses or taxis. The Plaintiff may also cast an

absentee ballot prior to an election day, either by mail or in person, at the Blackford County

Circuit Court Clerk’s office.

                                       III.   DISCUSSION

       The Plaintiff maintains that the law “unjustifiably burdens [his] right to vote.” Am.

Compl. ¶ 63. Specifically, he argues that “the burden here is severe: by denying [him] the

opportunity to vote with his community on election day, the [D]efendants are denying him the

associational and expressive aspects that are at the heart of the constitutionally-protected [sic]

right to vote, and which each voting alternative lacks.” Dkt. No. 34 at 2. 1 The Defendants

contend that, because he has not alleged an injury, no case or controversy exists for the Court to




       1 The Court does not interpret the Plaintiff’s argument to mean that he asserts that he has
been denied the right of freedom of association under the First and Fourteenth Amendments.


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exercise jurisdiction and the Plaintiff lacks standing to bring his claims. The Plaintiff responds

that any burden imposed by the state on the right to vote constitutes an injury.

       The existence of a case and controversy is a prerequisite for the exercise of federal

judicial power under Article III. Sprint Spectrum L.P. v. City of Carmel, Indiana, 361 F.3d 998,

1002 (7th Cir. 2004). The prerequisite is satisfied only where a plaintiff has standing. Sprint

Commc’ns Co., L.P. v. APCC Servs., Inc., 554 U.S. 269, 273 (2008) (citing DaimlerChrysler

Corp. v. Cuno, 547 U.S. 332, 342 (2006)). This Court cannot assume a plaintiff has

demonstrated standing in order to proceed to the merits of the underlying claim. Steel Co. v.

Citizens for a Better Env’t, 523 U.S. 83, 93-94 (1998). To establish standing, a plaintiff must

adequately show the following:

       (1) an injury in fact (i.e., a ‘concrete and particularized’ invasion of a ‘legally
       protected interest’); (2) causation (i.e., a ‘fairly ... trace[able]’ connection between
       the alleged injury in fact and the alleged conduct of the defendant); and (3)
       redressability (i.e., it is ‘likely’ and not ‘merely speculative” that the plaintiff's
       injury will be remedied by the relief plaintiff seeks in bringing suit).

Sprint Commc’ns Co., L.P., 554 U.S. at 273-74 (quoting Lujan, 504 U.S. at 560–561 (calling

these the “irreducible constitutional minimum” requirements)).

       The Defendants challenge the Plaintiff’s ability to meet the first element. “To establish

injury in fact, a plaintiff must show that he or she suffered ‘an invasion of a legally protected

interest’ that is ‘concrete and particularized’ and ‘actual or imminent, not conjectural or

hypothetical.’” Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1548 (2016) (quoting Lujan, 504 U.S. at

560). “A ‘concrete’ injury must be ‘de facto’; that is, it must actually exist.” Spokeo, Inc., 136

S. Ct at 1548. “For an injury to be ‘particularlized,’ it ‘must affect the plaintiff in a personal and

individual way.’” Id. (quoting Lujan, 504 U.S. at 560 n. 1). The injury in fact showing “is not

meant to be a difficult one, particularly at the pleading stage. . . .” J.P. Morgan Chase Bank,




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N.A. v. McDonald, 760 F.3d 646, 650 (7th Cir. 2014). As the Plaintiff notes, “[t]he [] issue at

this juncture is not whether [the Plaintiff]’s stated burden amounts to a constitutional violation . .

. but whether he has suffered any burden at all.” Dkt. No. 34 at 8.

        The Plaintiff alleges that Indiana Code § 35-42-4-14 prohibits him from voting in person

on an election day at the polling place closest to him. While it remains to be seen whether this

restriction rises to the level of a constitutional violation, the Plaintiff has met the low threshold

for pleading injury required to demonstrate that he has standing. Accordingly, the Defendants’

Motion to Dismiss (Dkt. No. 32) is DENIED.

        SO ORDERED:
       7/28/2016
                                                  _______________________________
                                                   Hon. William T. Lawrence, Judge
                                                   United States District Court
                                                   Southern District of Indiana




Copies to all counsel of record via electronic notification.




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